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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 JOSHUA A. MONIGHAN          :
                   Plaintiff :
                             :                    No. 1:18-CV-1654
            v.               :
                             :                    Judge Jones
 TOM WOLF GOVERNOR           :
 COMMONWEALTH OF PA          :                    Electronically Filed Document
                             :
                             :                    Complaint Filed 08/21/8
                             :
                 Defendants :

                  CERTIFICATE OF NON-CONCURRENCE


      I, Keli M. Neary, Chief Deputy Attorney General for the Commonwealth of

Pennsylvania, Office of Attorney General, hereby certify that I attempted to contact

Plaintiff but did not receive a response before filing this motion. Therefore, it is

assumed that he does not concur in this Motion to Dismiss. If a different response is

received from Plaintiff, an updated certificate will be filed.



                                               s/ Keli M. Neary
                                               KELI M. NEARY
                                               Chief Deputy Attorney General
